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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                      :
                                                               :
                                                               :    16 Cr. 339 (RMB)
                          - against -                          :
                                                               :   DECISION & ORDER
DASHAWN WALTERS,                                               :
                                                               :
                                    Defendant.                 :
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        Having reviewed the record herein, including without limitation: (1) Defendant Dashawn

Walters’s pro se motion and supplemental brief, dated June 19, 2020 and September 29, 2020,

respectively, requesting that the Court “grant [him] compassionate release” pursuant to the

compassionate release provisions in 18 U.S.C. § 3582. See Mot. at 2. Walters contends that: (i) he

suffers “chronic health issues such as Asthma which expose[] [him] to a greater risk” of contracting

COVID-19; (ii) there is “no type of vaccine or medication to prevent [him] from catching the virus

[] if [he] did catch it,” and USP Victorville does not “have proper medical staff”; and (iii) he has

“kids that need their father in their lives.” Id. at 2-3; and (2) the Government’s response, dated July

24, 2020, opposing Walters’s release and contending: (i) Walters “has failed to exhaust his

administrative remedies”; (ii) there are no “extraordinary and compelling” circumstances

warranting Walters’s release; and (iii) Walters “is a danger to the community, and the sentencing

factors in 18 U.S.C. § 3553(a) counsel against” releasing Walters early. See Opp. at 1-3. The

Government also requests that Walters’s BOP medical records, filed as Exhibit A, Exhibit B, and

Exhibit C to its response (“Exhibit A,” “Exhibit B,” and “Exhibit C,” respectively), be filed under

seal. Id. at 2, the Court hereby accepts Walters’s medical records under seal but denies

Walters’s motion for compassionate release (and his request for appointed counsel), as

follows:

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 I.      Background

             On June 15, 2017, Walters pleaded guilty to one count of conspiracy to distribute and

      possess with intent to distribute crack cocaine, in violation of Title 21, United States Code, Sections

      846 and 841(a)(1), (b)(1)(C); and one count of using and carrying a firearm in connection with a

      drug-trafficking crime, in violation of Title 18, United States Code, Section 924(c)(1)(A)(i), (A)(ii).

      See June 15, 2017 Plea Hr’g. Tr. at 4:1-8, 7:4-6. On November 16, 2017, the Court sentenced

   Walters to 114 months’ imprisonment to be followed by 5 years of supervised release. See Nov. 16,

   2017 Judgment. Walters, who is 26 years old, is incarcerated at USP Victorville, a high-security

   penitentiary in California for male inmates. See Opp. at 5;

   https://www.bop.gov/locations/institutions/vip/. He has served approximately 51 months of his 114-

  month sentence and is not scheduled for release until January 3, 2024. See Opp. at 1.

II.      Legal Standard

             18 U.S.C. § 3582(c)(1)(A) provides in part:

             [T]he court, . . . upon motion of the defendant after the defendant has fully exhausted
             all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
             on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by
             the warden of the defendant’s facility, whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of probation or supervised release with or
             without conditions that does not exceed the unserved portion of the original term of
             imprisonment), after considering the factors set forth in section 3553(a) to the extent
             that they are applicable, if it finds that . . . extraordinary and compelling reasons
             warrant such a reduction . . .

             United States Sentencing Commission policy statement U.S.S.G. § 1B1.13 provides that a

   court may reduce a term of imprisonment if “extraordinary and compelling reasons warrant the

   reduction,” “the defendant is not a danger to the safety of any other person or to the community . .

      .,” and “the reduction is consistent with this policy statement.” Application Note 1 states in part that

      extraordinary and compelling reasons may exist if: (1) “[t]he defendant is . . . suffering from a

  serious physical or medical condition . . . that substantially diminishes the ability of the defendant to

  provide self-care within the environment of a correctional facility and from which he or she is not
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   expected to recover”; (2) “[t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious

   deterioration in physical or mental health because of the aging process; and (iii) has served at least

   10 years or 75 percent of his or her term of imprisonment, whichever is less”; or (3) the

   circumstances involve (i) “[t]he death or incapacitation of the caregiver of the defendant’s minor

   child or minor children,” or (ii) “[t]he incapacitation of the defendant’s spouse or registered partner

   when the defendant would be the only available caregiver for the spouse or registered partner.”

III.   Findings

          The Court’s findings are as follows:

   1. The Government argues that Walters, who as noted, is 26 years of age, “has failed to exhaust his

       administrative remedies by bringing a compassionate release application through the Bureau of

       Prisons (‘BOP’), which is required before the Court may grant such an application.” See Opp. at

       1, 8-9. Walters contends that he has exhausted his administrative remedies with the Warden’s

       office at USP Victorville but “ha[s] received no answer in the 30 day period.” See Mot. at 2; see

       also Suppl. Br. at 1-2.

   2. Walters has not submitted evidence, documentary or otherwise, that he has exhausted his

       administrative remedies. See United States v. Reiter, 2020 WL 4252681, at *3 (S.D.N.Y. July

       23, 2020). For example, “[Walters] does not (1) provide a copy of his request to BOP, (2) state

       the date on which he made the request to BOP, [or] (3) provide evidence that the Warden

       received such a request.” Id. Accordingly, it appears that Walters has not demonstrated that he

       exhausted his administrative remedies. Id.; see United States v. Sosa, 2020 WL 4252683, at *1

       (S.D.N.Y. July 24, 2020); see also United States v. Brady, No. 18cr00316 (PAC), ECF No. 115

       at 2 (S.D.N.Y. Apr. 13, 2020).

   3. Because Walters is appearing pro se, the Court will assume, arguendo, that he has exhausted his

       administrative remedies or that waiver of the exhaustion requirement is warranted. That is, even

       if exhaustion were found, the Court would deny Walters’s motion because there do not appear
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to be “extraordinary and compelling” circumstances warranting his early release and, relatedly,

because dangerousness is a factor here. These conclusions are based on the following:

   a. The Center for Disease Control states that “moderate-to-severe asthma may increase

       [the] risk for severe illness from COVID-19.” See

       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-

       increased-risk.html. According to Walters’s BOP medical records, he suffers from “mild

       intermittent” asthma. See Opp. Ex. B at 3.

   b. “The COVID-19 virus is relatively contained at Victorville.” United States v. Salcedo,

       2020 WL 5899397, at *2 (D. Haw. Oct. 5, 2020). As of October 20, 2020, it appears that

       there were no active COVID-19 cases among inmates at USP Victorville. See

       https://www.bop.gov/coronavirus/ (last visited October 20, 2020). According to the

       Government, there have been no COVID-19-related deaths reported at USP Victorville.

       See Opp. at 12.

   c. While, as noted, Walters has been classified as having “mild intermittent” asthma, this

       type of asthma is the “the lowest classification, which is not a COVID-19 high-risk

       factor.” United States v. Anguiera, 2020 WL 3424530, at *5 (W.D.N.Y. June 23, 2020);

       see Opp. Ex. B at 3. According to Walters’s medical records and the Government’s

       contentions: (1) Walters has “suffered no asthmatic episodes or distress throughout his

       entire time in custody”; (2) approximately two years ago, Walters “affirmatively

       disclaimed a need for an inhaler” that had been previously prescribed to him; and (3)

       since Walters’s arrival at USP Victorville, he “has not sought care from the medical

       clinic and has not once requested or needed an inhaler or other treatment relating to

       asthma or any other respiratory condition.” See Opp. at 1-2 & n.2; see also Opp. Ex. B at

       3.


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d. It has been held that “intermittent” asthma is not, in and of itself, an extraordinary and

   compelling reason for immediate release in light of the relatively minimal risk it poses

   for severe illness when combined with COVID-19. See United States v. Gonzalez, 2020

   WL 3428137, at *3 (S.D.N.Y. June 23, 2020); see also United States v. Harris, 2020

   WL 4699044, at *4 (S.D.N.Y. Aug. 12, 2020); United States v. Frazier, 2020 WL

   3508261, at *2 (S.D.N.Y. June 29, 2020).

e. As to Walters’s claim that USP Victorville is ill-equipped to “administer proper health

   care” to him were he to contract COVID-19, see Mot. at 2, Walters has “not shown that

   the plan proposed by the Bureau of Prisons is inadequate to manage the pandemic within

   [USP Victorville], or that [USP Victorville] is specifically unable to adequately treat

   [Walters].” See United States v. Gileno, 2020 WL 1307108, at *4 (D. Conn. Mar. 19,

   2020). Generalized concerns about USP Victorville’s capability to treat Walters do not

   suffice. See United States v. Sonnier, 2020 WL 4601638, at *4–5 (E.D. La. Aug. 11,

   2020) (“[Defendant] has alleged only general concerns that Victorville USP is ill-

   prepared to manage a potential COVID-19 outbreak at the facility . . . . the existence of

   COVID-19 at Victorville USP alone cannot independently justify compassionate

   release.”).

f. As to Walters’s claim that he “ha[s] kids that need their father in their lives,” see Mot. at

   2, this, while certainly cause for empathy and understanding, is “not a basis to grant him

   compassionate release.” United States v. Corin, 2020 WL 5898703, at *4 (S.D.N.Y. Oct.

   5, 2020). “[I]f wanting to be with your children constituted an extraordinary and

   compelling reason for a reduction of sentence, almost every defendant would qualify.

   The exception would swallow the rule.” Id.; see also United States v. Martin, 2020 WL

   4361679, at *3 n.2 (W.D.N.Y. July 30, 2020) (citations omitted) (denying motion of

   defendant who sought compassionate release based in part on his “children’s need for a
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          father.” “[S]uch [a] consideration[] would be insufficient to outweigh the factors that

          continue to support [defendant’s] initial sentence.”).

4. Even if Walters had established one or more “extraordinary and compelling” circumstances, the

   Court would deny his motion because Walters poses a danger to the community. See §

   3582(c)(1)(A)(i); U.S.S.G. § 1B1.13. A finding of “danger to the community” outweighs

   arguments favoring early release. See United States v. Tisdale, 2020 WL 5441584, at *3

   (S.D.N.Y. Sept. 9, 2020) (holding that “the relevant § 3553(a) factors”—“[m]ost importantly, . .

   . that [the defendant] is . . . a danger to the safety of the community”—“outweigh any

   extraordinary and compelling reasons warranting compassionate release”) (citations and

   omissions omitted).

5. Among other factors: (1) Walters’s indictment stemmed from his “sho[o]t[ing] a seventeen-

   year-old boy . . . on a busy commercial street during the evening rush hour . . . . in furtherance

   of an ongoing gang rivalry between his MOET-YGz gang and the MOET-Crips over drug

   sales”—conduct that “could easily have resulted in death or serious injury to [the] [v]ictim[] or

   an innocent passerby.” See Gov’t Sentencing Submission at 3; and (2) Walters’s criminal

   history category (of II) reflects “a number of drug and gun crimes,” as well as other offenses

   evincing “complete recklessness and . . . violence,” including: second-degree criminal

   possession of a weapon (an offense for which he was adjudicated a juvenile delinquent), third-

   degree criminal sale of a controlled substance, attempted criminal possession of a controlled

   substance, second-degree reckless endangerment, and third-degree attempted assault. Id. at 3-4;

   see also Nov. 16, 2017 Sentencing Tr. at 3:7-9, 5:2-8, 15:3-10. Walters poses a danger to the

   safety of other persons and to the community because the underlying conduct that led to his

   incarceration seriously endangered the community. United States v. Batista, 2020 WL 3249233,

   at *3 (S.D.N.Y. June 16, 2020).


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  6. The sentence reduction sought by Walters “would fail to satisfy any of the purposes of

      sentencing,” namely “to reflect the seriousness of the offense, to promote respect for the law, []

      to provide just punishment for the offense, to afford adequate deterrence to criminal conduct,

      [and] to protect the public from further crimes of the defendant.” United States v. Garcia, --- F.

      Supp. 3d ----, 2020 WL 2468091, at *6 (S.D.N.Y. May 13, 2020); see also Batista, 2020 WL

      3249233, at *4; Nov. 16, 2017 Sentencing Tr. at 18:20-23.

IV.   Conclusion & Order

         Defendant’s motion for compassionate release is respectfully denied. 1 The Government’s

  request to file Exhibits A, B, and C under seal is granted. See United States v. Daugerdas, 2020 WL

  2097653, at *3 n.2 (S.D.N.Y. May 1, 2020).



  Dated: New York, New York
         October 21, 2020

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                                                       RICHARD M. BERMAN, U.S.D.J.




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          Any issues or arguments raised by the parties but not specifically addressed in this
  Decision and Order have been considered by the Court and rejected, including Walters’s application
  for appointment of counsel [Dck. # 94]. See United States v. Garrison, 2020 WL 5253219, at *1 n.1
  (S.D.N.Y. Sept. 3, 2020) (“Here, because [the defendant] has failed to show that his application for
  compassionate release is likely to have merit, his request for appointment of counsel is DENIED.”).

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